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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

   ELIZABETH CARDONA and
   JERARD BROWN,                                CASE NO.: 8:18-CV-02838-SCB-JSS
                 Plaintiffs,
        v.

   VIVINT SOLAR, INC.,
   VIVINT SOLAR DEVELOPER, LLC,
   and SOLAR MOSAIC, INC.

                          Defendants.           /

                                NOTICE OF SETTLEMENT

           Pursuant to Local Rule 3.09, the parties hereby notify the Court that a

   settlement in principle has been reached. The Parties respectfully request that the

   Court refrain from dismissing the case until the settlement is fully consummated.



   Date: 6/1/2021

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